Case 17-13274-amc          Doc 70    Filed 10/18/21 Entered 10/18/21 10:31:10               Desc Main
                                     Document     Page 1 of 1




                              UNITED STATES BANKRUPTCY COURT
                              EASTERN DISTRICT OF PENNSYLVANIA

IN RE:      Jeffrey A. Schurr                         CASE NO.: 17-13274-amc
                            Debtor
                                                      CHAPTER 13
            SN Servicing Corporation as Servicer
            for U.S. Bank Trust National              Judge: Ashely M. Chan
            Association, as Trustee of the
            Bungalow Series IV Trust
                            Movant
            v.

            Jeffrey A. Schurr
            Scott F. Waterman - Trustee
                            Respondents

                                   CERTIFICATION OF DEFAULT


         FRIEDMAN VARTOLO, LLP, attorneys for Movant, hereby certifies that the above-captioned

Debtor has failed to comply with the terms of the Stipulation approved by the U.S. Bankruptcy Judge

Ashely M. Chan on March 24, 2021. A copy of the Stipulation is attached hereto as Exhibit “A”. Debtor

is post-petition due for the August 1, 2021 through September 1, 2021 regular monthly mortgage payment

in the amount of $1,209.61, accrued late charges of $231.18, less Debtor’s suspense of $408.87.     The

total post-petition due is $2,241.53. (This amount does not include the October 1, 2021 payment in the

amount of $1,209.62)      In accordance with the terms of said Stipulation agreed to by the parties, the

Automatic Stay is hereby lifted as to permit Movant to proceed with their State Court remedies upon

Debtor's property.

Dated: October 18, 2021

                                        By: _/s/ Lorraine Gazzara Doyle________
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